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United States Department of State

Washington, D.C. 20520

 

December 2, 2020
Angela D. Caesar

Clerk of the Court

United States District Court
For the District of Columbia
333 Constitution Ave. N.W.
Washington, DC 20011

Re: Masih Alinejad v. The Islamic Republic of Iran, et al., 1:19-cv-03599-EGS
Dear Ms. Caesar:

I am writing regarding the Court’s request for transmittal of a Summons, Complaint, and
Notice of Suit to the Islamic Republic of Iran pursuant to 28 U.S.C. Section 1608(a)(4) as a
defendant in the above referenced lawsuit.

Because the United States does not maintain diplomatic relations with the Government of
Iran, the Department of State is assisted by the Foreign Interests Section of the Embassy of
Switzerland in Tehran in delivering these documents to the Iranian Ministry of Foreign Affairs.
The documents were delivered to the Iranian Ministry of Foreign Affairs under cover of
diplomatic note No. 1192-IE, dated October 26, 2020 and delivered on October 27, 2020. A
certified copy of the diplomatic note is enclosed.

Sincerely,

Jared N. Hess
Attorney Adviser
Office of the Legal Adviser
Ce:

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Ali Herischi

Herischi & Associates LLC
7201 Wisconsin Ave., Suite 440
Bethesda, MD 20814
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SPECIFIC AUTHENTICATION CERTIFICATE

   
   

Confederation of Switzerland )
Bern, Canton of Bern ) SS:
[Embassy of the United'States of America )

, Jack F. Pan, a consular officer at the Embassy of the United States at Bern, Switzerland, certify
hat this is a true copy of Embassy note number 27290 dated September 9, 2020, which was
ransmitted to the Swiss Ministry of Foreign Affairs on September 9, 2020 for further
ransmission to the American Interests Section of the Swiss Embassy in Tehran, Iran.

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(Signatyire of Consular Officer)

 

Jack F. PAN
(Typed name of Consular Officer)

Consul of the United States of America
(Title of Consular Officer)

November 9, 2020
(Date)

 
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SPECIFIC AUTHENTICATION CERTIFICATE

   
   
    
   

Confederation of Switzerland )
_ Bern, Canton of Bern . ) SS:
_ Embassy of the United States of America )

' I certify that the annexed document is executed by the genuine signature and seal of the
following named official who, in an official capacity, is empowered by the laws of Switzerland
_ to execute that document.

_ [certify under penalty of perjury under the laws of the United States that the foregoing is true
and correct.

Gaélle CAFARO-VULLIERAT
(Typed name of Official who executed the annexed document)

ne of Consular Officer)

Jack F. PAN
(Typed name of Consular Officer)

 

Consul of the United States of America
(Title of Consular Officer)

November 9, 2020
(Date)
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er =. p Schweizerische Eidgenossenschaft Embassy of Switzerland in Iran

  

Confédération suisse Foreign Interests Section
Confederazione Svizzera
Confederaziun svizra

No. 1192-IE

The Embassy of Switzerland, Foreign Interests Section in Tehran, presents its compliments to
the Ministry of Foreign Affairs of the Islamic Republic of Iran, and has the honor to refer the Ministry to
the lawsuit Masih Alinejad v. The Islamic Republic of Iran, et al., 1:19-cv-03599-EGS, which is pending
in the U.S. District Court for the District of Columbia. The Islamic Republic of Iran is a defendant in this
case. The Embassy transmits a Summons and Complaint herewith. The U.S District Court for the District
of Columbia has requested service of these documents. This note constitutes transmittal of these
documents to the Government of the Islamic Republic of Iran as contemplated in Title 28, United States
Code, Section 1608(a)(4).

Under applicable U.S. law, a defendant in a lawsuit must file an answer to the Complaint or
some other responsive pleading within 60 days of the date of transmittal of the Complaint, in this case
the date of this note. Failing to do so, a defendant risks the possibility of having judgment entered against
it without the opportunity to present arguments or evidence on its behalf. Therefore, the Embassy
requests that the enclosed Summons and Complaint be forwarded to the appropriate authority of the
Islamic Republic of Iran with a view towards taking whatever steps are necessary to avoid a default
judgment.

In addition to the Summons and Complaint, the Embassy is enclosing a Notice of Suit,
prepared by the plaintiff, which summarizes the nature of the case and includes references to U.S. laws
concerning suits against foreign States.

The Embassy has been advised that under U.S. law any jurisdictional or other defense
including claims of sovereign immunity must be addressed to the court before which the matter is
pending, for which reason it is advisable to consult an attorney in the United States. It is the practice of
the U.S. Department of State to be available to discuss the requirements of U.S. law with counsel. The
U.S. Government is not a party to this case and cannot represent other parties in this matter.

The Embassy of Switzerland, Foreign Interests Section, avails itself of this opportunity to
renew to the Ministry of Foreign Affairs of the Islamic Republic of Iran the assurances of its highest

consideration. os

Tehran, October 26, 2020

Attachments:
4. Summons, Complaint, and Notice of Suit
2. Translations

 

Ministry of Foreign Affairs
Islamic Republic of Iran
Department of American Affairs
Tehran
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|, Christian Gobet, Head of the Foreign Interests Section of the Embassy of Switzerland in Iran, ce.
herewith that this is a true copy of Diplomatic Note No. 1192-IE, dated October 26, 2020. The delive,
of this note and its enclosures was attempted on October 27, 2020, but the Iranian Ministry of Foreign
Affairs refused its acceptance.

Christian Gobet

Head of the Foreign Interests Section

Tehran, October 28, 2020

 

 

; APOSTILLE .
(Convention de la Haye du 5 octobre 1961)

1. Country: SWISS CONFEDERATION
This public document
2. has been signed by Christian Gobet
3. acting in the capacity of Head of the Foreign Interests Section

4. bears the seal/stamp of
EMBASSY OF SWITZERLAND IN IRAN
FOREIGN INTERESTS SECTION TEHERAN

Certified

§. at Berne 6. the O05 November 2020

  

7. by Gaélle Cafaro-Vullierat
functionary of the Swiss federal Chancellery

22362

9. Seal/stamp: 10. Signature

Swiss federal Chancellery wu. See ee aa

 

 

 
